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                      UNITED STATES DISTRICT COURT           July 16, 2020
                     EASTERN DISTRICT OF CALIFORNIA       CLERK, US DSITRICT COURT
                                                                         EASTERN DISTRICT OF
                                                                             CALIFORNIA


UNITED STATES OF AMERICA,                      Case No. 2:19CR00104-TLN

                 Plaintiff,

      v.                                               ORDER FOR RELEASE OF
                                                        PERSON IN CUSTODY
JORGE ALTAMARINO ZARATE,

                 Defendant.

TO:   UNITED STATES MARSHAL:

      This is to authorize and direct you to release JORGE ALTAMARINO

ZARATE ,

Case No. 2:19CR00104-TLN Charge 21USC § 846, 841(a)(1) , from custody for

the following reasons:

                         Release on Personal Recognizance

                         Bail Posted in the Sum of $

                           xx   Unsecured Appearance Bond $           25,000.00

                                Appearance Bond with 10% Deposit

                                Appearance Bond with Surety

                                Corporate Surety Bail Bond

                           X    (Other): Pretrial conditions as stated on the record.

      The defendant shall be released on 7/17/2020 at 10:00 a.m. to the Pretrial

Services Officer.

      Issued at Sacramento, California on July 16, 2020 at 2:00 pm



                                      By:

                                            Magistrate Judge Allison Claire
